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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-566V
                                      Filed: July 28, 2016
                                        UNPUBLISHED
*********************************
RAFAEL CORREA and ZAPHIRA                         *
BRITO, on behalf of A.C., a minor,                *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Adriana Teitel, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On June 3, 2015, petitioners filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”), on behalf of their minor daughter A.C. The petition alleged that A.C. suffered
intussusception due to the rotavirus vaccine she received on July 3, 2012. On June 9,
2016, the undersigned issued a decision awarding compensation to petitioner based on
respondent’s proffer to which petitioner agreed. (ECF No. 35).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On July 28, 2016, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 40).3 Petitioner requests attorneys’ fees in the amount of $16,124.00
and attorneys’ costs in the amount of $1,071.09 for a total amount of $17,195.09. Id. at
1. In compliance with General Order #9, petitioner has filed a signed statement
indicating petitioner incurred no out-of-pocket expenses.4 Petitioner’s General Order #9
Statement filed as Attachment to Unopposed Motion for Attorneys’ Fees and Costs
(ECF No. 40).

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $17,195.095 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Howie, Jr.

        The clerk of the court shall enter judgment in accordance herewith.6

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 The motion was filed as an unopposed motion and specifically states that respondent has no objection
to petitioner’s request.

4Petitioner’s counsel also represents in the motion that petitioner has incurred no out-of-pocket
expenses. Unopposed Motion for Attorneys’ Fees and Costs at 2 (ECF No. 40).
5This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

6 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
